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EXHIBIT Q
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Brenner, Wendy

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From:
Sent:
To:

Ce:
Subject:

Counsel —

Augustino, Robin on behalf of Brenner, Wendy
Wednesday, December 22, 2010 2:17 PM
alevine@dralegal.org; lparadis@dralegal.org
Brenner, Wendy

Enyart v. NCBE

Please see the attached correspondence.

12-22-10 Ltr
9 A. Levine.pc

Robin (Romine) Augustino

Legal Secretary to Wendy Brenner~Joshua Mates~Scott Petersmeyer

Cooley LLP

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Wendy J. Brenner VIA EMAIL AND US MAIL

(650) 843-5371
brennerwj@cooley.com

December 22, 2010

Laurence W. Paradis

Anna Levine

Disability Rights Advocates

2001 Center Street, Fourth Floor
Berkeley, CA 94704

RE: Enyart v. National Conference of Bar Examiners

Dear Mr. Paradis and Ms. Levine:

This letter further responds to Plaintiff Stephanie Enyart’s requested modifications to the
previous two preliminary injunction orders issued in the above-referenced matter — specifically,
the request set forth in Ms. Levine’s email of December 9, 2010 that NCBE “load the [software]
versions that Stephanie currently uses...Word 2003, Windows XP, ZoomText 9.18.9.135 and
JAWS 11.01467.” (Please note that we are in receipt of your letter dated December 21, 2010
responding to our letter of December 20, 2010, which we intend to respond to shortly under

separate cover.)

NCBE is willing to load the laptop provided to Ms. Enyart with Microsoft Word 2003 and
Windows XP. As for JAWS, NCBE has purchased (and previously used) version 10.0.1178U.
Currently, NCBE can only obtain JAWS version 11.0.1476 if it purchases version 12. NCBE
does not know how long version 11 will remain available for download. Please advise by close
of business on Wednesday, December 29, 2010, if Ms. Enyart is requesting NCBE to purchase
version 12, and if so, whether she intends to use version 12 or version 11.0.1476 (assuming it is
still available when NCBE attempts to download version 12).

As for ZoomText, NCBE has purchased (and previously used) version 9.18.7.16. We
understand that Ms. Enyart wants to use 9.18.9.135, however that version is no longer availabie
for download. The version that is currently available is 9.19.0. Accordingly, Ms. Enyart will
need to choose between version 9.18.7.16 and version 9.19.0. Please advise, again by close of
business on Wednesday, December 29, 2010, which ZoomText version Ms. Enyart prefers.

Please be advised that because NCBE has no prior experience with the specific programs
requested by Ms. Enyart, it cannot guarantee that the specific programs will not result in
technical or compatibility issues. Furthermore, as before, NCBE’s willingness to provide the
requested software versions is in no way an acknowledgment by NCBE that Ms. Enyart needs
or is entitled to these accommodations under the Americans with Disabilities Act. NCBE

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Laurence Paradis
Anna Levine
December 22, 2010
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maintains its position that Ms. Enyart is not legally entitled to her requested exam format or any
related accommodations.

Sincerely,
Cooley LLP
|’ )
| j /

Wendy J. Brenner

906449 vi/HN

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